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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-222
LEO BRENT BOZELL IV, : VIOLATIONS:

also known as Zeeker Bozell,
: 18 U.S.C. §§ 1512(c)(2), 2
Defendant. : (Obstruction of an Official Proceeding)

18 U.S.C. §§ 1361, 2
(Destruction of Government Property)

18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C, § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building and Grounds)

40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capito] Building)

40 U.S.C. § 5104(e)(2)(F)
(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT

The Grand Jury charges that:
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COUNT ONE
On January 6, 2021, within the District of Columbia and elsewhere, LEO BRENT
BOZELL IV, also known as Zeeker Bozell, attempted to, and did, corruptly obstruct, influence,
and impede an official proceeding, and did aid and abet others known and unknown to do the same;
that is, LEO BRENT BOZELL IV, also known as Zeeker Bozell, with others known and
unknown, forcibly entered the United States Capitol to, and did, stop, delay, and hinder Congress’s
certification of the Electoral College vote.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2), and 2)

COUNT TWO
On January 6, 2021, within the District of Columbia and elsewhere, LEO BRENT
BOZELL IV, also known as Zeeker Bozell, attempted to, and did, willfully injure and commit
depredation against property of the United States, and did aid and abet others known and unknown
to do so; that is, LEO BRENT BOZELL IV, also known as Zeeker Bozell, with others known
and unknown, forcibly entered the U.S. Capitol and thereby caused damage to the building in an
amount more than $1,000.

(Destruction of Government Property and Aiding and Abetting in violation of Title
18, United States Code, Sections 1361 and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, LEO BRENT BOZELL
IV, also known as Zeeker Bozell, did unlawfully and knowingly enter and remain in a restricted
building and grounds, that is, any posted, cordoned-off, or otherwise restricted area within the

United States Capitol and its grounds, where the Vice President and Vice President-elect were
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temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title
18, United States Code, Section 1752(a)(1))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, LEO BRENT BOZELL
IV, also known as Zeeker Bozell, did knowingly, and with intent to impede and disrupt the orderly
conduct of Government business and official functions, engage in disorderly and disruptive
conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President and Vice President-elect were temporarily visiting, when and so that such
conduct did in fact impede and disrupt the orderly conduct of Government business and official

functions.

(Disorderly and Disruptive Conduct in a Restricted Building and Grounds, in
violation of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia LEO BRENT BOZELL IV, also
known as Zeeker Bozell, willfully and knowingly engaged in disorderly and disruptive conduct in
any of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of
a session of Congress and either House of Congress, and the orderly conduct in that building of a
hearing before or any deliberation of, a committee of Congress or either House of Congress,

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT SIX
On or about January 6, 2021, in the District of Columbia, LEO BRENT BOZELL IV,
also known as Zeeker Bozell, willfully and knowingly engaged in an act of physical violence
within the United States Capitol Grounds and any of the Capito] Buildings.

(Act of Physical] Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, LEO BRENT BOZELL IV,
also known as Zeeker Bozell, willfully and knowingly paraded, demonstrated, and picketed in any
United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
